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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


  DENNIS ABRAMSON,

        Plaintiff,

  v.                                            CASE NO.: 8:14-cv-821-T-23EAJ

  CREATIVE SOLUTIONS
  MARKETING, INC.,

       Defendant.
  __________________________________/


                                       ORDER

        The plaintiff announces (Doc. 8) a voluntary dismissal. Under

  Rule 41(a)(1)(A)(i), Federal Rules of Civil Procedure, this action is DISMISSED

  WITHOUT PREJUDICE. The clerk is directed to terminate any pending motion

  and to close the case.

        ORDERED in Tampa, Florida, on August 20, 2014.
